                IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION

CONSUMER FINANCIAL PROTECTION BUREAU                           PLAINTIFF


VS.                               CIVIL ACTION NO. 3:16-cv-356-WHB-JCG


ALL AMERICAN CHECK CASHING, INC.;
MID-STATE FINANCE, INC.; and
MICHAEL E. GRAY, Individually                              DEFENDANTS

                            OPINION AND ORDER

      This cause is before the Court on the Motion of Defendants for

Judgement on the Pleadings.      Having considered the pleadings, as

well as supporting and opposing authorities, the Court finds the

Motion is not well taken and should be denied.



           I. Factual Background and Procedural History

      The Consumer Financial Protection Bureau (“Bureau”) filed a

lawsuit against All American Check Cashing, Inc. (“All American”);

Mid-State Finance, Inc.; and Michael E. Gray,1 alleging that they

violated Sections 1031(a), 1036(a), and 1054(a) of the Consumer

Finance Protection Act of 2010 (“CFPA”), codified at 12 U.S.C. §§

5531(a),   5536(a),   and    5564(a),   respectively.2   The     alleged


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        All American Check Cashing, Inc.; Mid-State Finance,
Inc.; and Michael E. Gray will be collectively referred to as
“Defendants”.
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        As the Complaint alleges claims arising under federal
law, and is brought by an agency of the United States Government,
the Court may exercise federal subject matter jurisdiction in
this case under 28 U.S.C. §§ 1331 and 1345.
violations are connected with check cashing services and payday

loans that had been offered by Defendants.

     In its Complaint, the Bureau alleges that Defendants violated

the CFPA by engaging in “abusive acts and practices” and/or

“deceptive acts or practices” with respect to the check cashing

services they provided. The alleged abusive and/or deceptive acts

and practices included, but were not limited to, that Defendants:

(1) failed to inform customers of the fees they would          be charged

for check cashing services; (2) intentionally blocked or otherwise

interfered with a customer’s ability to see the fee they were being

charged on the receipt they were required to sign to have their

check cashed; (3) provided false and/or misleading information to

customers regarding the fees they would be charged and their

ability to cancel check-cashing transactions; and (4) pressured or

coerced   customers   into   cashing   their   checks   by,   inter   alia,

processing checks without the customer’s consent or prematurely

endorsing the check thereby impeding the ability of the customer to

have the check cashed elsewhere.

     The Bureau also alleges that Defendants violated the CFPA by

engaging in “deceptive acts or practices” with respect to the

payday loans they offered.     Specifically, the Bureau alleges that

Defendants misrepresented to customers that the two-week payday

loans they offered provided greater financial benefit than the

thirty-day payday loans offered by their competitors when in



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reality the customer was charged higher fees for the two-week

payday loans. Finally, the Bureau alleges that Defendants violated

the CFPA by failing to notify customers when they had overpaid

their loan amounts and/or by failing to refund the overpayments.

     Defendants have now      moved for judgment on the pleadings

arguing that this action in void ab initio because, inter alia, the

CFPA is unconstitutional.



                            II.    Discussion

     Defendants have moved for judgment on the pleadings pursuant

to Rule 12(c) of the Federal Rules of Civil Procedure.       This rule

provides, in relevant part:       “[a]fter the pleadings are closed ...

a party may move for judgment on the pleadings.”      According to the

United States Court of Appeals for the Fifth Circuit, “‘[a] motion

brought pursuant to [Rule] 12(c) is designed to dispose of cases

where the material facts are not in dispute and a judgment on the

merits can be rendered by looking to the substance of the pleadings

and any judicially noticed facts.’”         Machete Prods., L.L.C. v.

Page, 809 F.3d 281, 287 (5th Cir. 2015)(quoting Great Plains Tr.

Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 312 (5th

Cir. 2002)).   When considering a Rule 12(c) motion, the Court

applies the same standard as is used when considering a motion for

failure to state a claim under Rule 12(b)(6) of the Federal Rules

of Civil Procedure.   Great Plains, 313 F.3d at 313.      As with Rule


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12(b)(6), the “central issue” when deciding a Rule 12(c) motion “is

whether,   in   the   light   most   favorable   to   the   plaintiff,   the

complaint states a valid claim for relief.”             Hughes v. Tobacco

Inst., Inc., 278 F.3d 417, 420 (5th Cir. 2001)(alteration in

original)(internal quotations omitted).

     In their Motion for Judgment on the Pleadings, Defendants

first argue that the structure of the Bureau is unconstitutional

and, therefore, the agency lacks authority to bring this action.

The claim underlying this argument is that the structure of the

Bureau is “antithetical to the separation of powers” doctrine in so

far as the Bureau is headed by a single director who allegedly

“wields unchecked legislative, executive, and judicial powers”, and

who is not accountable to either Congress or the President.              See

Mem. in Supp. of Mot. [Docket No. 145], 5-15.           The argument that

the Bureau is unconstitutional based on its single-director status,

however, was recently rejected by the United States Court of

Appeals for the District of Columbia.        See PHH Corp. v. CFPB, 881

F.3d 75 (D.C. Cir. 2018).      As summarized by that Court:

     The Supreme Court’s removal-power decisions have, for
     more than eighty years, upheld ordinary for-cause
     protections of the heads of independent agencies,
     including financial regulators. That precedent leaves to
     the legislative process, not the courts, the choice
     whether to subject the Bureaus’s leadership to at-will
     presidential removal. Congress’s decision to provide the
     CFPB Director a degree of insulation reflects its
     permissible judgment that civil regulation of consumer
     financial protection should be kept one step removed from
     political winds and presidential will. We have no warrant
     here to invalidate such a time-tested course. No relevant


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      consideration    gives    us   reason   to    doubt   the
      constitutionality of the independent CFPB’s single-member
      structure. Congress made constitutionally permissible
      institutional design choices for the CFPB with which
      courts should hesitate to interfere. “While the
      Constitution diffuses power the better to secure liberty,
      it also contemplates that practice will integrate the
      dispersed powers into a workable government.” Youngstown
      Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952).

Id. at 110.     For the same reasons stated in PHH Corp., this Court

rejects the arguments raised by Defendants, and likewise finds that

the Bureau is not unconstitutional based on its single-director

structure.

      Next, Defendants argue that the claims alleged under the CFPA

violate due process because the Act fails to give fair notice of

the   conduct   proscribed   by   that   statute.   The   issue   of   due

process/fair notice was considered by the United States District

Court for the Southern District of Indiana in the case of CFPB v.

ITT Educational Services, Inc., 219 F. Supp. 3d 878 (S.D. Ind.

2015).   In ITT, the defendant argued that the CFPA claims alleged

against it were subject to dismissal because the Act did not

provide fair notice as to what constituted “unfair” and “abusive”

conduct thereunder.    The defendant further argued that because the

terms “unfair” and “abusive” were vague, any attempt to enforce the

CFPA against it would violate the Due Process clause of the Fifth

Amendment.

      In considering the vagueness/due process challenge, the court

in ITT began with this summary of applicable case law on the issue.



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       “A fundamental principle in our legal system is that laws
       which regulate persons or entities must give fair notice
       of conduct that is forbidden or required.” F.C.C. v. Fox
       Television Stations, Inc., 567 U.S. 239, 253 (2012);
       Papachristou v. City of Jacksonville, 405 U.S. 156, 162
       (1972)(“Living under a rule of law entails various
       suppositions, one of which is that all persons are
       entitled to be informed as to what the State commands or
       forbids.”)(citations omitted). A statute is void for
       vagueness if it “fails to provide a person of ordinary
       intelligence fair notice of what is prohibited, or is so
       standardless that it authorizes or encourages seriously
       discriminatory enforcement.” United States v. Williams,
       553 U.S. 285, 304 (2008); Hill v. Colorado, 530 U.S. 703,
       732 (2000).    This doctrine is not implicated merely
       because “it may at times be difficult to prove an
       incriminating fact but rather because it is unclear as to
       what fact must be proved.” Fox Television, 567 U.S. at
       253. Nor can a court declare a law unconstitutionally
       vague based on “the mere fact that close cases can be
       envisioned” under its provisions. Williams, 553 U.S. at
       305–306. Rather, we refuse to apply a statutory standard
       only where it is so amorphous that reasonable observers
       have no choice but to “guess at its meaning[,] and differ
       as to its application.” Connally v. General Constr. Co.,
       269 U.S. 385, 391 (1926)(explaining that “[a] statute
       which either forbids or requires the doing of an act in
       terms so vague that men of common intelligence must
       necessarily guess at its meaning and differ as to its
       application, violates the first essential of due process
       of law”.).

ITT, 219 F.Supp.3d at 899 (alterations in original). The ITT court

then   considered   the   challenged   provision   of   the   CFPA,   which

provides, in relevant part: “It shall be unlawful for ... any

covered person or service provider ... to engage in any unfair,

deceptive, or abusive act or practice.” 12 U.S.C. § 5536(a)(1)(B).

On review the court in ITT rejected the defendant’s argument that

the terms “unfair” and “deceptive” were impermissibly vague on the

grounds that these same terms are contained in the Fair Trade



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Commission Act, codified at 15 U.S.C. § 45(a)(1), and Congress was

well aware of the meaning given to those terms when it enacted the

CFPA.       As further explained:

        The CFPA, like the FTCA before it, has empowered the
        agency itself to fill in the broad outlines of its
        authority with specific regulations and interpretations.
        The agency and the courts have done so in fleshing out
        the term “unfair ... act or practice,” and Congress has
        tapped into that existing body of law in framing the CFPA
        with identical terminology. We thus have no difficulty in
        rejecting [defendant’s] suggestion that a reasonable
        business entity would be forced to guess at the term’s
        meaning, or would be subject to agency’s standardless
        discretion in its enforcement.

ITT, 219 F.Supp.3d at 904.

        The court in ITT likewise rejected the argument that the

phrase “abusive act or practice” was unconstitutionally vague,

first, on the grounds that the CFPA expressly describes the type of

conduct/practice that can be declared “abusive”.            See 12 U.S.C. §

5531(d).3      Second, the court in ITT found that the term “abusive”

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            The relevant subsection of the CFPA provides:

        (d)   The Bureau shall have no authority under this
        section to declare an act or practice abusive in
        connection with the provision of a consumer financial
        product or service, unless the act or practice –

        (1) materially interferes with the ability of a consumer
        to understand a term or condition of a consumer financial
        product or service; or

        (2) takes unreasonable advantage of –

        (A) a lack of understanding on the part of the consumer
        of the material risks, costs, or conditions of the
        product or service;

        (B)   the   inability   of   the   consumer   to   protect   the

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was not novel in that the same term was used by Congress when

enacting the Fair Debt Collection Practices Act (“FDCPA”), see 15

U.S.C. § 1692(e)(explaining that one of the purposes of the FDCPA

is   to   “eliminate   abusive   debt    collection    practices      by      debt

collectors”), and that that Act expressly describes conduct and/or

practices    considered   abusive.       See   15   U.S.C.    §    1692d.       As

summarized by the court in ITT:

      Because the CFPA itself elaborates the conditions under
      which a business’s conduct may be found abusive — and
      because agencies and courts have successfully applied the
      term as used in closely related consumer protection
      statutes and regulations — we conclude that the language
      in question provides at least the minimal level of
      clarity that the due process clause demands of non-
      criminal economic regulation.

ITT, 219 F.Supp.3d at 906.        For the same reasons stated by the

court in ITT, this Court rejects the fair notice/due process

challenge made by Defendants, which is premised on arguments that

the terms “unfair”, “deceptive” and “abusive acts and practices” in

the CFPA are unconstitutionally vague.

      Third, Defendants argue that         the CFPA violates the non-

delegation doctrine because Congress did not clearly delineate the

general policy for, or the boundaries of delegated authority to,

the Bureau.     Contrary to this argument, the CFPA does provide

general policy/boundaries of authority for the Bureau.                    See 12


      interests of the consumer in selecting             or       using   a
      consumer financial product or service; or

      (C) the reasonable reliance by the consumer on a covered
      person to act in the interests of the consumer.

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U.S.C. § 5511 (providing that the purposes of the Bureau include

implementing    and   enforcing    federal     consumer   financial    law;

investigating consumer complaints; identifying risks to consumers

in the marketplace; taking appropriate enforcement action against

violators of federal consumer financial law; and issuing rules,

orders, and guidance for implementing federal consumer financial

law).   The CFPA likewise provides limits on the types of conduct

that can be declared “unfair” or “abusive” under the Act.             See 12

U.S.C. § 5532(c) and (d).         Because Congress, when enacting the

CFPA, delineated a general policy for the Bureau to follow, and

provided limits on its authority, the Court finds Defendants have

failed to show that the CFPA violates the non-delegation doctrine.

See e.g. United States v. Whaley, 577 F.3d 254, 263-64 (5th Cir.

2009)(explaining that the “modern test” for assessing alleged

violations of the non-delegation doctrine is “whether Congress has

provided   an   ‘intelligible     principle’    to   guide   the   agency’s

regulations”, and that delegation is “‘constitutionally sufficient

if Congress clearly delineates the general policy, the public

agency which is to apply it, and the boundaries of this delegated

authority’”)(quoting Mistretta v. United States, 488 U.S. 361, 372

(1989) and American Power & Light Co. v. SEC, 329 U.S. 90, 105

(1946), respectively).

     Finally, Defendants argue that they are entitled to a judgment

on the pleadings because the CFPA violates the principles of



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federalism.   The federalism challenge stems from the fact that the

Bureau allegedly bases several of its FCPA claims on allegations

including that All American violated state law.        According to

Defendants, if their conduct violated state law, then the state, as

opposed to the federal government, should be       responsible for

bringing an enforcement action.    See Mem. in Supp. of Mot. [Docket

No. 145], 21 (arguing that the Bureau, by basing its claims on

alleged violations of state law, has intruded on the rights of the

states “to determine how far their laws should reach and how they

should be enforced.”).    A review of the Complaint makes clear,

however, that while there are allegations that state law was

violated, the Bureau also alleges conduct on the part of All

American that has not been shown subsumed by state law.         For

example, the Complaint alleges that Mississippi and Louisiana law

require the display of fees for check cashing services. See Compl.

¶ 21.   According to the Complaint, All American did display the

required fee information, but it was displayed in such a manner as

to make it unlikely that customers would actually see it.       Id.

(alleging that the fee sign was placed “under the counter” in All

American offices). The Complaint further alleges that All American

employees were specifically instructed to take action so as to

either minimize or negate the likelihood that the fee display would

be seen by customers.    Id. (alleging that All American employees

were told to limit the time customers were at the counter, and have



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them wait in the lobby while their checks were processed so as to

minimize the likelihood that they would see the posted fee signs);

Id., ¶ 22 (alleging that All American employees were trained to use

distraction techniques including providing consumers with non-

relevant information and small gifts to keep them from having an

opportunity to ask about fees).   Because there has been no showing

that all of the conduct on which the Bureau bases this enforcement

action would be solely in the providence of state law, the Court

finds Defendants have failed to show that they are entitled to

judgment on the pleadings based on federalism concerns.



                         III.   Conclusion

     For the foregoing reasons:

     IT IS THEREFORE ORDERED that the Motion of Defendants for

Judgment on the Pleadings [Docket No. 144] is hereby denied.

     IT IS FURTHER ORDERED that the Motion of Defendants for

Hearing on their Motion for Judgment on the Pleadings [Docket No.

235] is hereby denied as unnecessary.

     SO ORDERED this the 21st day of March, 2018.



                                       s/ William H. Barbour, Jr.
                                       UNITED STATES DISTRICT JUDGE




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